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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

                                     CLERK’S MINUTES


                                  The Honorable Julie S. Sneed
                                        Courtroom 11A

                          Toms v. State Farm Life Insurance Company
                                   8:21-cv-00736-KKM-JSS


  Date: October 3, 2022                              Court Reporter: Digital
                                                     Interpreter: N/A
  Time: 11:46 AM – 12:02 PM | Total: 16 Mins
                                                     Deputy Clerk: Clara Reaves

  Plaintiff’s Counsel                                Defense Counsel
  Lindsay Perkins, Pl.                               Jeremy Root, Def.

                                     Status Hearing (Zoom)

  All parties present and consent to Zoom status hearing.
  Matter is before the Court on joint oral request for a status conference. Court hears status by
  parties via zoom.
  Court hears argument by counsel.
  Court takes issue under advisement.
  Court in recess.
